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                       Exhibit 11




                           Exhibit 11
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                                 Company: HALLIBURTON CO

                                    Form Type: Form 10-Q

                               Subdocument: 10-Q (Base Filing)

                                    Filing Date: 10/24/2014




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                                         UNITED STATES SECURITIES AND EXCHANGE COMMISSION
                                                         Washington, D.C. 20549
                                                             FORM 10-Q

                                              [X] Quarterly Report Pursuant to Section 13 or 15(d) of the
                                                           Securities Exchange Act of 1934
                                                 For the quarterly period ended September 30, 2014

                                                                           OR

                                                 [ ] Transition Report Pursuant to Section 13 or 15(d)
                                                        of the Securities Exchange Act of 1934
                                                    For the transition period from _ _ to _ _

                                                            Commission File Number 001-03492


                                              HALLIBURTON COMPANY
                                                                (a Delaware corporation)
                                                                       XX-XXXXXXX

                                                       3000 North Sam Houston Parkway East
                                                               Houston, Texas 77032
                                                       (Address of Principal Executive Offices)

                                                   Telephone Number - Area Code (281) 871-2699

Indicate by check mark whether the registrant (I) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of
1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to
such filing requirements for the past 90 days.


Yes     [X]      No      [ ]

Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File
required to be submitted and posted pursuant to Rule 405 of Regulation S-T (§ 232.405 of this chapter) during the preceding 12 months (or for such
shorter period that the registrant was required to submit and post such files).


Yes     [X]      No      [ ]

Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company.
See the definitions of"large accelerated filer," "accelerated filer," and "smaller reporting company" in Rule 12b-2 of the Exchange Act.


                                  Large accelerated filer                 [X]   Accelerated filer                       [ ]
                                  Non-accelerated filer                   [ ]   Smaller reporting company               [ ]

Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).


Yes     [ ]      No      [X]

As of October 17, 2014, 847,460,293 shares of Halliburton Company common stock, $2.50 par value per share, were outstanding.
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                                                  HALLIBURTON COMPANY

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Item 6. Exhibits


*        JO.I        HESI Punitive Damages and Assigned Claims Settlement Agreement dated September 2, 2014, entered into between
                     Halliburton Company and Halliburton Energy Services, Inc. and counsel for The Plaintiffs Steering Committee in MDL
                     2179 and the Deepwater Horizon Economic and Property Damages Settlement Class.


*        12.1        Statement Regarding the Computation of Ratio of Earnings to Fixed Charges.


*        31.1        Certification of Chief Executive Officer pursuant to Section 302 of the Sarbanes-Oxley Act of 2002.


*        31.2        Certification of Chief Financial Officer pursuant to Section 302 of the Sarbanes-Oxley Act of 2002.


**       32.1        Certification of Chief Executive Officer pursuant to Section 906 of the Sarbanes-Oxley Act of 2002.


**       32.2        Certification of Chief Financial Officer pursuant to Section 906 of the Sarbanes-Oxley Act of 2002.


*        95          Mine Safety Disclosures


*       IOI.INS      XBRL Instance Document
*       IOI.SCH      XBRL Taxonomy Extension Schema Document
*       IOI.CAL      XBRL Taxonomy Extension Calculation Linkbase Document
*       IOI.LAB      XBRL Taxonomy Extension Label Linkbase Document
*       IOI.PRE      XBRL Taxonomy Extension Presentation Linkbase Document
*       IOI.DEF      XBRL Taxonomy Extension Definition Linkbase Document


       *             Filed with this Form 10-Q
       **            Furnished with this Form 10-Q

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                                  Company: HALLIBURTON CO

                                     Form Type: Form 10-Q

              Subdocument: EX-10.1. MACONDO LITIGATION SETILEMENT AGREEMENT

                                     Filing Date: 10/24/2014




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                                               Exhibit 10.1

                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


  In Re: Oil Spill by the Oil Rig "Deepwater         *******          MDL NO. 2179
    Horizon" in the Gulf of Mexico, on               **
    April 20, 2010                                   *                SECTION J
                                                     *
                                                                      HONORABLE CARL J.
                                                                      BARBIER
                                                                      Magistrate Judge SHUSHAN


                     HESI PUNITIVE DAMAGES AND ASSIGNED CLAIMS
                               SETTLEMENT AGREEMENT

      This Agreement, dated September 2, 2014, sets forth the terms and conditions agreed upon by the
Parties for the settlement of this matter. The Parties intend for this Settlement Agreement to be deemed
complete and fully enforceable as the final Settlement Agreement ("SA"). This SA is intended by the
Parties to fully, finally, and forever settle and release the Released Claims against HESI, released subject
to the terms and conditions herein. The Parties recognize additional documents will be required in order
to implement the SA. The Parties agree to work in good faith to present to the Court all documents
needed to implement the SA and agree that, in the absence of agreement by the Parties with respect to
such documents, the Court shall resolve disputes between the Parties consistently with the terms of this
SA.

                                                     1
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                                               RECITALS

       A.     Halliburton Energy Services, Inc. and Halliburton Company (further defined as "HESI" in
Section 1) are corporations organized under the laws of Delaware; HESI is a provider of services and
products to the energy industry.
       B.     Plaintiffs who are within the definition of the New Class in Section 4, and the "DHEPDS
Class," defined in Section 5, (collectively "Plaintiffs") have alleged and/or been assigned general
maritime law claims alleged against HESI relating to the Deepwater Horizon Incident defined in Section
5, including negligence, gross negligence, willful misconduct, strict liability, negligence per se, nuisance,
trespass, and other claims.
       C.     Plaintiffs contend that they would prevail in litigation. HESI disputes and denies the
Plaintiffs' claims, has raised various affirmative, legal and other defenses, and contends that it would
prevail in litigation.
       D.      After careful consideration, the DHEPDS Class, as a juridical entity, DHEPDS Class
Counsel, and the PSC on behalf of members of the putative New Class have concluded that it is in the
best interests of the DHEPDS Class and the members of the putative New Class to compromise and
settle certain claims asserted against HESI and other Halliburton Released Parties, as defined in Section
5, in consideration of the terms and benefits of the SA. After arm' s length negotiations with HESI and
HESI' s counsel, the DHEPDS Class, DHEPDS Class Counsel, and the PSC on behalf of the putative
New Class, have considered, among other things: (1) the complexity, expense, and likely duration of the
litigation; (2) the stage of the litigation and amount of discovery and testimony completed; (3) the
potential for Plaintiffs or HESI prevailing on the merits; and (4) the range of possible recovery and
certainty of damages; and have determined the SA is fair, reasonable, adequate

                                                     2
